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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                 Criminal Action No.
         v.
                                                 1:18-CR-309-LMM
   C HALMER D ETLING II A / K / A
   C HUCK D ETLING

                     Joint Proposed Summary of Indictment

   The United States of America, by Kurt R. Erskine, Acting United States

Attorney, and Samir Kaushal, Assistant United States Attorney for the Northern

District of Georgia, files this Joint Proposed Summary of Indictment. The parties

have conferred and agree upon the following proposed summary of the

indictment:

   The defendant, Chalmer E. Detling II a/k/a Chuck Detling, is charged with

multiple counts of wire fraud and aggravated identity theft. From 2012 to 2016,

Detling worked as a personal injury attorney in Marietta, Georgia. The
Indictment alleges that Detling devised a scheme to defraud litigation financing

entities by submitting applications for “litigation advances” purportedly on

behalf of his clients. The litigation advances are supposed to provide modest
financing to plaintiffs, mainly in personal injury cases, for non-litigation related

expenses (like living and medical expenses) while their lawsuits are pending.

Here, the Indictment alleges that Detling applied for these litigation advances
without his clients’ authorization or knowledge. It also alleges that Detling
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received the funds into accounts he controlled and never provided any of the
funds to his clients.

   Counts Four through Seven are wire fraud counts. These wire fraud counts

are based on Detling receiving the allegedly fraudulently obtained litigation
advances by a wire transfer. Counts Eleven through Fifteen are the

corresponding aggravated identity theft counts. Each count alleges whose

identity was used during or in relation to the wire fraud counts charged in

Counts Four through Seven.



                                         Respectfully submitted,

                                         K URT R. E RSKINE
                                            Acting United States Attorney



                                     /s/ S AMIR K AUSHAL
                                            Assistant United States Attorney
                                         Georgia Bar No. 935285
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                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using

the Court’s CM / ECF system, which automatically notifies the parties and counsel
of record.


                          Caitlyn Wade

                          Suzanne Hashimi

                          Counsel for Defendant Chalmer Detling II


October 13, 2021


                                         /s/ S AMIR K AUSHAL

                                         S AMIR K AUSHAL

                                         Assistant United States Attorney
